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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                 CASE NO: 21-CR-175-TJK
v.

ENRIQUE TARRIO,

                  Defendant.

_______________________________/

  DEFENDANT TARRIO’S MOTION TO JOIN DEFENDANT REHL’S
 MOTION TO DISMISS THE INDICTMENT AND FOR SANCTIONS AS A
               RESULT OF BRADY VIOLATIONS


      Defendant Tarrio, through his counsel, moves the Court to join the

Motion to Dismiss the Indictment and for Sanctions filed by Defendant

Rehl. ECF. Nos. 533,534 (sealed). Tarrio submits this filing to add the

following additional points and argument.

      On November 7, 2022 undersigned and co-counsel were finally able

to review the production of CHS materials. The production was substantial

with over 500+ pages of materials. Unfortunately, the production contains

significant redactions. Puzzlingly, even the page numbers are redacted

from the statements. As detailed in the motions filed by Defendants Rehl

and Nordean, there are significant portions of the materials favorable to all

Defendants, but even more so to Tarrio’s defense.


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       The timing of this disclosure is extremely troubling considering events

that have transpired in this case. Based on the review of these materials,

and considering all the redactions throughout, there is no legitimate reason

that these documents could not have been provided in the normal

discovery production channels. Further, for Defense counsel to have to

review the documents in this cumbersome manner greatly prejudices the

Defense. The Defense requires unredacted copies of these documents to

render effective assistance of counsel.

       WHEREFORE, for the reasons stated above, Tarrio joins Rehl’s

motion to dismiss the Indictment and impose such other sanctions as will

perverse the rights of all Defendants to a fair trial and to the due process of

law.


                                          Respectfully submitted,

                                                 BY: /s/ Sabino Jauregui, Esq.
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                                                 /s/ Nayib Hassan
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

electronically noticed through the CM/ECF system to the US Attorney’s Office on this

11th day of November, 2022 to the following:

      Jason McCollough
      Luke Jones
      Erik Kenerson
      Nadia Moore                                  BY: /s/ Sabino Jauregui, Esq.
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